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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  DANIEL MONCADA,

                         Plaintiff,
  v.                                                      Civil Action No. 0:17-CV-61716-WPD

  LESLIE'S POOLMART, INC.,
  A foreign for-profit corporation,

                         Defendants.


                       JOINT RESPONSE TO ORDER TO SHOW CAUSE

         Defendant Leslie's Poolmart, Inc. and Plaintiff Daniel Moncada hereby respond to the

  Court's Order to Show Cause as follows:

         On November 16, 2017, the parties advised this Court that they had reached an agreement

  to resolve this case. Subsequently, a written agreement was negotiated, drafted and revised. Due

  to the nature of the Plaintiff's claims, the agreement required specific terms relating to the parties'

  immediate and future obligations, all of which required discussion and negotiation. The

  negotiation and drafting of the agreement was diligently pursued by the parties since the

  November 16 filing, although there was some delay caused by the intervening Thanksgiving

  holiday.

         The parties now have a final version of the written agreement that it is being circulated

  for execution, and they expect that the agreement will be fully executed within seven (7)

  calendar days from today.

         WHEREFORE, the parties request that the Court allow an additional seven (7) calendar

  days from today for the execution of the written agreement by the parties and their counsel, and
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  the filing of a stipulation of dismissal, such that the deadline for filing the dismissal will be

  December 12, 2017.



  Dated: December 5, 2017                                 Respectfuly Submitted


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